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                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

UNITED STATES OF AMERICA                                   §
                                                           §
v.                                                         §       CASE NO.: 3:13-CR-00368-L
                                                           §
GONZALO JESUS AGUILAR (1)                                  §

                     ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
                  UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the
Consent of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States Magistrate
Judge, and no objections thereto having been filed within fourteen days of service in accordance with 28 U.S.C. §
636(b)(1), the undersigned District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge
concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of
guilty, and GONZALO JESUS AGUILAR is hereby adjudged guilty of 21 U.S.C. § 846 and 841(a) and (b)(1)(C),
namely, Conspiracy to Possess With Intent to Distribute a Controlled Substance. Sentence will be imposed in accordance
with the Court's scheduling order.

☐       The defendant is ordered to remain in custody.

☐       The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence that the
        defendant is not likely to flee or pose a danger to any other person or the community if released and should
        therefore be released under § 3142(b) or (c).

☐       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the conditions
        of release for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a
        danger to any other person or the community if released under § 3142(b) or (c).

☐       The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender to the
        United States Marshal no later than __________________________.

☒       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
        ☐      There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
        ☐      The Government has recommended that no sentence of imprisonment be imposed, and
        ☒      This matter shall be set for hearing before the United States Magistrate Judge who set the conditions of
               release for determination, by clear and convincing evidence, of whether the defendant is likely to flee or
               pose a danger to any other person or the community if released under § 3142(b) or (c).

☐       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed a
        motion alleging that there are exceptional circumstances under § 3145(c) why he/she should not be detained under
        § 3143(a)(2). This matter shall be set for hearing before the United States Magistrate Judge who set the
        conditions of release for determination of whether it has been clearly shown that there are exceptional
        circumstances under § 3145(c) why the defendant should not be detained under § 3143(a)(2), and whether it has
        been shown by clear and convincing evidence that the defendant is likely to flee or pose a danger to any other
        person or the community if released under § 3142(b) or (c).



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SIGNED this 6th day of February, 2014.




                                                  _________________________________
                                                  Sam A. Lindsay
                                                  United States District Judge




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